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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                CR 18-63-GF-BMM
                       Plaintiff,

          vs.

 DEVON DRAPER,                            ORDER


                       Defendant.


     The United States has filed an Unopposed Motion for Dismissal of

Forfeiture Proceedings (Doc. 131). For good cause being shown,

     IT IS HEREBY ORDERED, that the forfeiture action in the above-captioned

case is DISMISSED with prejudice.

     DATED this 24th day of April, 2019




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